              Case 2:20-cv-00738-TSZ Document 19 Filed 06/26/20 Page 1 of 2



 1                                                                    The Honorable Thomas S. Zilly
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12                           UNITED STATES DISTRICT COURT
13                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE
14
15   NINTENDO OF AMERICA INC.,
16                                                        NO. 2:20-cv-00738-TSZ
17                        Plaintiff,
18                                                        PLAINTIFF’S REPLY IN SUPPORT
19           v.                                           OF MOTION FOR LEAVE TO SERVE
20                                                        PROCESS BY ALTERNATIVE
21   DOES 1-20, d/b/a, ANXCHIP.COM,                       MEANS
22   AXIOGAME.COM, FLASHCARDA.COM,
23   MOD3DSCARDS.COM, NX-CARD.COM,
24   SXFLASHCARD.COM, TXSWITCH.COM,
25   and USACHIPSS.COM,
26
27                        Defendants.
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29
30          Nintendo of America Inc. (“Nintendo”) respectfully directs the Court’s attention to the
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32   fact that Defendants have filed no opposition to the Nintendo’s motion for leave to serve process
33
34   by alternative means (“Motion”), Dkt. 15. Nintendo provided Defendants with a copy of the
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36   motion—as well as the Summons and Complaint in this action—by sending it via email to the
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38   addresses that Defendants have publicly identified as the means by which to contact them, and
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40   the addresses Defendants used to communicate with Nintendo. See Dkt 18. For the reasons set
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42   forth in Nintendo’s motion, and in the absence of any opposition, Nintendo requests that the
43
44   motion be granted.
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     PLAINTIFF’S REPLY IN SUPPORT OF MOTION FOR LEAVE                 G O R DO N     600 University Street
     TO SERVE PROCESS BY ALTERNATIVE MEANS - 1                          T IL DE N    Suite 2915
     No. 2:20-cv-00738                                                 THOMAS        Seattle, WA 98101
                                                                      C O R DE L L   206.467.6477
               Case 2:20-cv-00738-TSZ Document 19 Filed 06/26/20 Page 2 of 2



 1           Nintendo submits herewith a slightly revised Proposed Order reflecting the email
 2
 3   addresses that Nintendo understands to be in continued use by Defendants. This belief is based
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 5   on the evidence submitted with the Motion, on certain responses received already from various
 6
 7   of the email addresses acknowledging receipt of the Motion, and on the absence of any
 8
 9   “undeliverable” return messages when Nintendo sent the Motion to the email addresses
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11   contained in the attached Proposed Order. In sum, Defendants would be served with the
12
13   Summons and Complaint by service to the multiple email addresses used by each Defendant
14
15   contained on the Proposed Order.
16
17           DATED this 26th day of June, 2020.
18
19   Respectfully submitted,                           Respectfully submitted,
20
21   GORDON TILDEN THOMAS &                            JENNER & BLOCK LLP
22   CORDELL LLP
23
24     s/ Michael Rosenberger                            s/ Alison I. Stein
25   Michael Brown, WSBA #45618                        Alison I. Stein (Pro Hac Vice)
26   Michael Rosenberger, WSBA #17730                  Cayman C. Mitchell (Pro Hac Vice)*
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28   600 University Street, Suite 2915                 New York, NY 10022
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30   Telephone: 206.467.6477                           astein@jenner.com
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33                                                     Christopher S. Lindsay (Pro Hac Vice)
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35                                                     Los Angeles, CA 90071
36                                                     Telephone: 213.239.5100
37                                                     clindsay@jenner.com
38
39                                                     Attorneys for Plaintiff Nintendo of America Inc.
40
41                                                     *Admitted only in Massachusetts, not admitted
42                                                     in New York. Practicing under the supervision
43                                                     of the partnership of Jenner & Block, LLP
44
45


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     No. 2:20-cv-00738                                                THOMAS        Seattle, WA 98101
                                                                     C O R DE L L   206.467.6477
